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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

ELIZABETH PANZARELLA and
JOSHUA PANZARELLA, individually and
on behalf of all others similarly situated,
                   Plaintiffs,
                                                           No. 2:18-cv-03735-PBT
       v.
NAVIENT SOLUTIONS, LLC,                                    CLASS ACTION

                   Defendant.

                 PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       Plaintiffs Elizabeth and Joshua Panzarella, by counsel, hereby move this Court, pursuant

to Federal Rule of Civil Procedure 23, to certify this action as a class action. In support thereof,

Plaintiffs submit the accompanying Memorandum of Law.

Dated: March 20, 2020
                                                       Respectfully submitted,
                                                       FRANCIS MAILMAN SOUMILAS, P.C.
                                               By: /s/ James A. Francis
                                                   :   .




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                               CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that I caused the foregoing to be served

upon all counsel of record via Notification generated by the CM/ECF filing system.


Dated: March 20, 2020                              /s/ James A. Francis
                                                   James A. Francis
                                                   Attorney for Plaintiffs and the Class
